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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA



  PATTI MONOSON,

  Plaintiff,


  vs.                                             Case No.:
  SYNDICATED OFFICE SYSTEMS, INC.,
  d/b/a CENTRAL FINANCIAL CONTROL,

  Defendant.
  ___________________________________/


                                             COMPLAINT


          1.      Plaintiff alleges a violation of the Fair Debt Collection Practices Act, 15 U.S.C.

  1692 et seq. (“FDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. 559.55

  et seq. (“FCCPA”).

                                             JURISDICTION

          2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, 1367, and pursuant

  to 15 U.S.C. § 1692 et seq. (“FDCPA”), and pursuant to the Florida Consumer Collection

  Practices Act, Fla. Stat. 559.55 et seq.

          3.     This action arises out of Defendant’s violation of the Fair Debt Collection

  Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and out of the invasion of Plaintiff’s personal

  and financial privacy by this Defendant and its agent in its illegal effort to collect a consumer

  debt from Plaintiff.




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             4.    Venue is proper in this District because the act and transaction occurred here,

  Plaintiff resides here, and Defendant transacts business here.

                                               PARTIES

             5.    Plaintiff, PATTI MONOSON, is a natural person who resides in the City of Boca

  Raton, County of Palm Beach, State of Florida, and is a “consumer” as that term is defined by 15

  U.S.C. § 1692a(3).

             6.    Defendant SYNDICATED OFFICE SYSTEMS, INC., d/b/a CENTRAL

  FINANCIAL CONTROL, (hereinafter “Defendant Syndicated”) is a collection agency operating

  from an address of 1445 Ross Ave, Suite 1400, Dallas, TX 75202, and is a “debt collector” as

  that term is defined by 15 U.S.C. § 1692a(6).

             7.    Defendant Syndicated regularly uses the mail and telephone in a business the

  principal purpose of which is the collection of debts.

             8.    Defendant Syndicated regularly collects or attempts to collect debts for other

  parties.

             9.    Defendant Syndicated was acting as a debt collector with respect to the collection

  of Plaintiff’s alleged debt.

                                     FACTUAL ALLEGATIONS

             10.   Plaintiff incurred a financial obligation that was primarily for personal, family or

  household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

             11.   Sometime thereafter, the debt was consigned, placed or otherwise transferred to

  Defendant for collection from this Plaintiff.

             12.   Defendant sought to collect from Plaintiff an alleged debt arising from

  transactions incurred for personal, family or household purposes.



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         13. The following third-party heard the message while at or visiting Plaintiff's

  residence on one or more occasions: Plaintiff's son, John Monoson.

         14. Plaintiff did not authorize Defendant to communicate with the third parties.

         15. No court authorized Defendant to communicate with the third parties.

         16. The third parties had no legitimate business need for the information communicated

  in the telephone messages.

         17. Defendant knew or had reason to know that the third parties had no legitimate

  business need for the information communicated in the telephone messages.

         18. The messages communicate information affecting Plaintiff's reputation.

         19. Defendant knew or had reason to know that persons other than Plaintiff may hear its

  telephone messages left at Plaintiff's residence.

         20.    After the initial correspondence with Plaintiff, Defendant has failed to send a

  letter to Plaintiff notifying her of her rights and privileges under the law.

         21.    Defendant has failed to provide any documentation detailing the purchases,

  payments, interest, and late charges, if any, thereby making it impossible for Plaintiff to

  determine whether or not he owes the alleged debt and whether the alleged debt was correctly

  calculated.



                                      COLLECTION CALLS

         22.    In or about March, 2011, Defendant Syndicated’s collector attempted more than

  once to contact Plaintiff by telephone in an effort to collect this debt, these attempts were

  “communications” in to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).




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         23.        During at least one of Defendant’s attempts to collect a debt from Plaintiff,

  Defendant left a voice mail message on Plaintiff’s answering machine identifying himself as a

  debt collector.

         24.        Defendant repeatedly attempted to collect this debt with intent to harass Plaintiff.

                                                SUMMARY

         25.        The above-described collection communications made to Plaintiff by Defendant

  Syndicated, and a collection employee employed by Defendant Syndicated, were made in

  violation of numerous and multiple provisions of the FDCPA, including but not limited to 15

  U.S.C. § 1692c, as well as the FCCPA § 559.72(5).

         26.        The above-detailed conduct by this Defendant of harassing Plaintiff in its effort to

  collect this debt was a violation of numerous and multiple provisions of the FDCPA, including

  but not limited to all of the above mentioned provisions of the FDCPA, as well as invasions of

  Plaintiff’s privacy by intrusions upon seclusion and by revelation of private financial facts and

  resulted in actual damages to this Plaintiff.

         27.        Defendant’s disclosure of Plaintiff’s indebtedness to a third party was an invasion

  of her privacy and her right to financial privacy.



                                             TRIAL BY JURY

         28.        Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

  so triable. U.S. Const. amend. 7. Fed.R.Civ.P. 38.




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                                         CAUSES OF ACTION

                                                COUNT 1

                  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                    15 U.S.C. § 1692 et seq.


            29.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

  as though fully stated herein.

            30.     The foregoing act and omission of the Defendant and its agent constitutes

  numerous and multiple violations of the FDCPA including, but not limited to, each and every

  one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect to the

  Plaintiff.

            31.     As a result of the Defendant’s violation of the FDCPA, Plaintiff is entitled to

  statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

  reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

  herein.

                                                COUNT 2

               INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY
                REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

            32.     Plaintiff incorporates by reference all of the paragraphs of this Complaint as

  though fully stated herein.

            33.     Congress explicitly recognized a consumer’s inherent right to privacy in

  collection matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

  findings:




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                Abusive debt collection practices contribute to the number of personal
                bankruptcies, to marital instability, to the loss of jobs, and to invasions of
                individual privacy. 15 U.S.C. § 1692(a) (emphasis added).

          34.      Congress further recognized a consumer’s right to privacy in financial data in

  passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for

  a broad range of “financial institutions” including debt collectors albeit without a private right of

  action, when it stated as part of its purposes:

                It is the policy of the Congress that each financial institution has an
                affirmative and continuing obligation to respect the privacy of its
                customers and to protect the security and confidentiality of those
                customers’ nonpublic personal information. 15 U.S.C. § 6801(a)
                (emphasis added).

          35.      Defendant and/or its agent intentionally and/or negligently interfered, physically

  or otherwise, with the solitude, seclusion and or private concerns or affairs of this Plaintiff,

  namely, by unlawfully attempting to collect a debt and thereby invaded the Plaintiff’s privacy.

          36.      Defendant also intentionally and/or negligently interfered, physically or

  otherwise, with the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely,

  by unlawfully disclosing information about this debt to John Monoson, and thereby invaded

  Plaintiff’s right to financial privacy.

          37.      Defendant disclosed Plaintiff’s alleged indebtedness to John Monoson.

  Defendant knew or had reason to know that the third party did not have a legitimate need for the

  information.

          38.      The Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude,

  seclusion, private concerns or affairs, and private financial information.

          39.      The conduct of this Defendant and its agent, in engaging in the above-described

  illegal collection conduct against this Plaintiff, resulted in an intrusion and invasion of privacy



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  by this Defendant which occurred in a way that would be highly offensive to a reasonable person

  in that position.

                                                COUNT 3

    VIOLATION OF 559.72(5) OF THE FLORIDA CONSUMER COLLECTION PRACTICES
                                      ACT

          40.      Defendant disclosed Plaintiff’s alleged indebtedness to a third-party, John

  Monoson. Defendant knew or had reason to know that third-party John Monoson did not have a

  legitimate need for the information.

          41.      As a result of the improper disclosure to a third party, Plaintiff’s reputation has

  been affected.

                                                COUNT 4

    VIOLATION OF 559.72(7) OF THE FLORIDA CONSUMER COLLECTION PRACTICES
                                      ACT


          42.      Defendant repeatedly attempted to collect a debt from Plaintiff with intent to

  annoy or harass Plaintiff.

                                                COUNT 5

                VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                   15 U.S.C. § 1692g

          43.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

  as though fully stated herein.

          44.      Defendant violated §1692g of the FDCPA by failing to send written notification,

  within five (5) days after its initial communication with Plaintiff, advising Plaintiff of her rights

  to dispute the debt or request verification of the deft.




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         45.     Defendant acted in an otherwise deceptive, unfair and unconscionable manner and

  failed to comply with the FDCPA.



         WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

  Plaintiff and against Defendant for:


  A)   Damages and

  B)    Attorneys’ fees and costs

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.


  Dated: April 19, 2011                       Respectfully submitted,


                                              /s Andrew I. Glenn________________________
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